                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re: JIT INDUSTRIES, INC.                     )
       EIN: xx-xxx7267                          )            Case No.: 18-80892-CRJ-11
                                                )
               Debtor.                          )            CHAPTER 11
                                                )

                            DEBTOR’S MOTION FOR ENTRY OF A
                         FINAL DECREE CLOSING CHAPTER 11 CASE

       COMES NOW JIT Industries, Inc. as Chapter 11 Debtor-in-Possession (the “Debtor”), and
files this Debtor’s Motion for Entry of a Final Decree Closing Chapter 11 Case (the “Motion”). In
support of this Motion, the Debtor respectfully represents as follows:

                                  JURISDICTION AND VENUE

       1.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.
This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue is proper in this District and
before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory and legal predicates for the relief sought herein are sections 105(a), 350
and 554 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Code”), Rule 3022 of
the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                              NOTICE

       3.      Pursuant to Bankruptcy Rule 2002, the Debtor proposes to serve a copy of this
Motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
Blythe, Office of the Bankruptcy Administrator. The Debtor submits that such notice is good,
sufficient and appropriate under the particular circumstances and that no other or further notice of
the Motion is or shall be required.

                                          BACKGROUND

       4.      On March 23, 2018, the Debtor filed a petition for relief (Doc. 1) in the United States
Bankruptcy Court for the Northern District of Alabama (the "Court") under Chapter 11 of the Code.

       5.      On April 23, 2020, this Court entered its Order Confirming First Amended Chapter
11 Plan of Reorganization (Doc. 287).




Case 18-80892-CRJ11          Doc 300 Filed 07/15/20 Entered 07/15/20 15:16:15                Desc
                               Main Document    Page 1 of 3
       6.      The Debtor has begun making timely monthly payments to its creditors, pursuant to
the Plan. Thus, the confirmed Plan has been substantially consummated in accordance with 11
U.S.C. § 1101(2) and the Estate has been fully administered, except for the completion of all Plan
payments.

       7.      The docket maintained in this Chapter 11 case reflects the absence of any pending
and/or open adversary proceeding or contested matters. Undersigned counsel states that to the best
of counsel’s knowledge, there are no outstanding issues that would preclude the closure of this case.

       8.      As of the filing of this Motion, the Debtor has submitted all quarterly post-
confirmation reports to the Office of the Bankruptcy Administrator, and paid all required fees
pursuant to 28 U.S.C. §1930(a)(6). Prior to the hearing on this Motion, the Debtor will file any
further reports coming due and pay any fees incurred between the filing of this Motion and seven (7)
days before the hearing date.

                                           DISCUSSION

       9.      Section 350(a) of the Code provides that “[a]fter an estate is fully administered and
the court has discharged the trustee, the court shall close the case.” 11 U.S.C. § 350(a). Furthermore,
Rule 3022 of the Bankruptcy Rules provides that “[a]fter an estate is fully administered in a Chapter
11 reorganization case, the court, on its own motion or on motion of a party in interest shall enter a
final decree closing the case.” Fed. R. Bankr. P. 3022.

       10.     Courts determine on a case-by-case basis by analyzing relevant factors to determine if
a case is fully administered and can be closed allowing courts flexibility in determining whether an
estate is fully administered. See In re Union Home and Industrial, Inc. 375 B.R. 912, 917 (10th Cir.
2007) (citing, In re Federated Dept’ Stores, Inc. 43 Fed. Appx. 820, 822 (6th Cir. 2002)).

       11.     The Court in In re SL Management, LLC, 2010 WL 1379749 (Bankr. N.D. Tex)
concluded that “’fully administered’ … does not require that all claims be paid as a condition to
closing the case.” Id. at *4. The Court recognized that a Final Decree can be entered even when all
the payments required by a plan are not completed. Id. (citations omitted).

       12.     The District Court in In re JMP-Newcor International, Inc., 225 B.R 462 (N.D. Ill.
1998) upheld the Bankruptcy Court’s determination to close a pending Chapter 11 even though an
adversary case remained open. Id. at 465. The District Court determined that making remaining
disbursements and the adversary proceeding did not warrant keeping the case open. Id.




Case 18-80892-CRJ11          Doc 300 Filed 07/15/20 Entered 07/15/20 15:16:15                Desc
                               Main Document    Page 2 of 3
                                      RELIEF REQUESTED

       13.     Pursuant to Section 350(a) of the Code and Bankruptcy Rule 3022, the Debtor hereby
seeks the entry of a Final Decree of the Court closing this Chapter 11 case. The entry of a Final
Decree is appropriate because the Plan has been substantially consummated. The Confirmation
Order is final, and the Debtor has made several distributions pursuant to the terms of the Plan and
completed the claim objection process. The entry of a Final Decree and closing the case will stop
the Debtor from incurring quarterly fees under Section 1930 and incurring expenses by maintaining
the open Chapter 11 case.

       WHEREFORE, the Debtor respectfully requests the Court to enter a Final Decree and Order:
closing this Chapter 11 case; and granting such further relief to the Debtor as this Court deems just.

       Respectfully submitted, this 15th day of July, 2020.


                                              /s/ Tazewell T. Shepard IV
                                              Tazewell T. Shepard III
                                              Tazewell T. Shepard IV
                                              Attorneys to Chapter 11 Debtor

                                              SPARKMAN, SHEPARD & MORRIS, P.C.
                                              P.O. Box 19045
                                              Huntsville, AL 35804
                                              Tel: (256) 512-9924
                                              ty@ssmattorneys.com


                                  CERTIFICATE OF SERVICE

       This is to certify that this the 15th day of July, 2020, I have this day served the foregoing
motion on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard
Blythe, Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF
system and/or by placing a copy of same in the United States Mail, postage pre-paid.



                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard IV




Case 18-80892-CRJ11          Doc 300 Filed 07/15/20 Entered 07/15/20 15:16:15                Desc
                               Main Document    Page 3 of 3
